 Case 2:19-cr-00162-AWA-RJK Document 2 Filed 08/29/19 Page 1 of 8 PageID# 2
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                                         UNDER SEAL                           [, cLiiT^Kr^-^ ^           '
                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF VIRGINIA



     AFFIDAVIT IN SUPPORT OF APPLICATION FOR CRIMINAL COMPLAINT

       I, Kyle Raines, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

1.     I am a special Agent with the Naval Criminal Investigative Service (NCIS), and have

been since July 2018.1 am currently assigned to the NCIS Norfolk Field Office. I completed

training at the Federal Law Enforcement Training Center(FLETC)in Glynco, OA. While at

FLETC,I completed Criminal Investigation Training Program (CITP)and NCIS Special Agent

Basic Training Program (SABTP). I received training in areas including civilian law, the

Uniform Code of Military Justice(UCMJ),interviews and interrogations, crime scene

processing, defensive tactics, and various investigative techniques.

2.     As a federal agent, I am authorized to investigate violations of laws ofthe United States

and to execute warrants issued under the authority of the United States.

3.     I have conducted an investigation of the offenses described in this affidavit. As a result

of my investigation, a review of reports made by other law enforcement officers, and in speaking

with other law enforcement officers who have been involved in the investigation, I am familiar

with the circumstances ofthis on-going investigation. I have not included each and every fact

known to me in this affidavit, but only the facts I believe are necessary to establish probable

cause to believe that MARIO CORDEAU PARHAM(PARHAM)has engaged in the crime of,

through the use ofthe telephone and other instrument of interstate or foreign commerce, and in

or affecting interstate or foreign commerce, willfully making a threat, and maliciously conveying




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 Case 2:19-cr-00162-AWA-RJK Document 2 Filed 08/29/19 Page 2 of 8 PageID# 3




false information knowing the same to be false, concerning an attempt or alleged attempt being

made, or to be made,to kill, injure, or intimidate an individual or unlawfully to damage or

destroy any building, vehicle, or other real or personal property by means of an explosive, in

violation of 18 U.S.C. 844(e).

                     PERTINENT FEDERAL CRIMINAL STATUTES

4.      18 U.S.C. § 844(e) proscribes whoever,through the use ofthe mail, telephone, telegraph,

or other instrument of interstate or foreign commerce, or in or affecting interstate or foreign

commerce, willfully makes any threat, or maliciously conveys false information knowing the

same to be false, concerning an attempt or alleged attempt being made, or to be made,to kill,

injure, or intimidate any individual or unlawfully to damage or destroy any building, vehicle, or

other real or personal property by means of fire or an explosive.

                                     CASE BACKGROUND


5.      The Norfolk Field Office ofNCIS is investigating three separate telephonic bomb threats

made to the Colorma's Shipyard (the Shipyard) in Norfolk, VA. One person has been identified

as the account owner related to each phone number utilized to make all three bomb threats to the

Shipyard. Each call has been placed using a number owned by Finger Inc. or TextNow Inc.' and

was associated with one person, namely MARIO CORDEAU PARHAM.

6.      Beginning on August 13, 2019, NCIS responded to a duty regarding a telephonic bomb

threat was called into the main reception desk at the Shipyard in Norfolk, VA regarding the USS




' These companies provide free and paid mobile applications(apps)that allow users to call or
text from their phone using the app. The user's app is assigned its own phone number, apart
jfrom the number associated with the phone thru Verizon, T-Mobile, or other cellular phone
provider.




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 Case 2:19-cr-00162-AWA-RJK Document 2 Filed 08/29/19 Page 3 of 8 PageID# 4




GUNSTON HALL(LSD 44.). The USS GUNSTON HALL is currently dry docked at the

Colonna's Shipyard and is a vessel belonging to the Lfnited States Navy.

7.     For the first threat, a receptionist answered the telephone call. Specifically, on August

13, 2019, she received the call from phone number(757)350-4598 at approximately 0935 hours

from a caller she identified as a male. The caller stated "there's a bomb on the GUNSTON

HALL, you have twenty minutes to leave the boat." The receptionist detailed the caller talked

slowly and seemed "off." She requested the caller to repeat himself and he said "leave the boat

now." Command Master Chief Kimberly FERGUSON indicated the USS GUNSTON HALL

began ship clearing procedures at 1020 hours, to include evacuation ofthe ship and a search for

suspicious packages. At 1116 hours the USS GUNSTON HALL was deemed safe and clear of

any bombs.

8.     Initial background checks for phone number(757)350-4598 revealed this phone number

is owned by Bandwidth Inc. An exigent circumstance request was made to Bandwidth Inc. and

Bandwidthjnc. advised this number is owned by Finger Inc., who operates this phone number

using the Bandwidth network.

9.     An exigent circumstance request was made to Finger Inc. Finger Inc. provided

information relating to phone number(757)350-4598. Finger Inc. advised this phone number

was created using the email address cloversclovers73@gmail.com. Additionally, Finger Inc.

provided a timestamp for the last time this account was accessed and associated an IF address

with it. The last time this account was accessed was on August 13, 2019 at 09:23:11 on the IF

address 107.77.204.219. An IF address search indicated AT&T Mobility owns the IF Address.

Finger Inc. also provided a device Identification of"20da4c59-102a-4bcb-a5e4-f84e74bd8406,
 Case 2:19-cr-00162-AWA-RJK Document 2 Filed 08/29/19 Page 4 of 8 PageID# 5




4d047cfa-52c0-4bdc-98bl-fccd69efflca, 5759b9aa-bcf9-44c6-9853-53ff0a75d72c." This device

identification is specific to Google (Android) cellular phones.

10.    An open source search for the email address cloversclovers73@gmail.com revealed this

email address is associated with a Facebook profile for PARHAM. Facebook provided the

Facebook Business Record for the profile aforementioned. The business record indicated

PARHAM's last latitude and longitude coordinates while using the Facebook application was at

"36.8354316 -76.2755087" on August 13, 2019 at 10:14:10. Additional research regarding the

latitude and longitude placed the location as the Colonna's Shipyard.

11.    Contact was made with the Security Manager at the Shipyard. The Security Manager

indicated all contracted employees have a Colonna's Shipyard badge specifically assigned to

them. BURNS stated all employees scan these badges when entering and leaving Colonna's

Shipyard. BURNS provided PARHAM's scan history report for August 13, 2019 that indicated

PARHAM scanned into Colonna's Gate at 0614 hours and left Colonna's Gate at 1334 hours.

12.    On August 21, 2019 at approximately 1240 hours, the Colonna's Shipyard received a

second bomb threat via a telephone call at the main reception desk. A receptionist who answered

the call stated the call was from phone number(301)686-7692. She stated the caller was a male

who was friendly when he was inquiring if this was the Colonna's Shipyard located off Indian

River Road. BROWN-WILLIAMS told the caller it was Colonna's Shipyard and the caller

changed his tone and said,"I'm in the yard and I got a bomb and I'm going to blow the boats

up." The caller hung up afterwards and did not give BROWN-WILLIAMS the chance to reply.

The USS GUNSTON HALL was cleared at 1313 hours and was later deemed safe and clear of

any bombs at 1431 hours.




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 Case 2:19-cr-00162-AWA-RJK Document 2 Filed 08/29/19 Page 5 of 8 PageID# 6




13.    Initial background checks for phone number(301)686-7692 revealed this phone number

is ovmed by Bandwidth Inc. An exigent circumstance request was made to Bandwidth Inc. and

Bandwidth Inc. advised this number is owned by Finger Inc., who operates this phone number

using the Bandwidth network.

14.    An exigent circumstance request was made to Finger Inc., and Finger Inc. provided

information relating to phone number(301)686-7692. Finger Inc. advised this phone number

was created using the email address marioparham861@gmail.com. Finger Inc. additionally

provided a timestamp for the last time this account was accessed and associated an IF address

with it. The last time this account was accessed was on August 21, 2019 at 12:41:14 on the IF

address 107.77.202.43. Search of the IF address used indicated AT&T Mobility owns the IF

Address. Finger Inc. also provided a device Identification of"7cb3b2d7-ccb3-40c4-bd0f-

lab71b23fc93." This device identification is specific to Google (Android) cellular phones.

Finger Inc. also indicated this account was created on August 21, 2019 at 12:37:55, which is just

three minutes before the call was placed.

15.    Contact was made with Neil BURNS,Security Manager who provided FARHAM's scan

history report for August 21, 2019. The report indicated FARHAM scanned into Colorma's Gate

at 0634 hours and left Colonna's Gate at 1344 hours.


16.    On August 26, 2019, at approximately 1208 hours, the Colonna's Shipyard received a

third telephonic bomb threat via the telephone. A receptionist who answered stated a male called

from the phone number(804)256-1208 and stated "you all think I'm playing. This is my last

time calling. I'm going to blow up the shipyard and kill myselfif I don't get my." The

receptionist attempted to say something while the caller was talking and the caller hung up. The

Shipyard stopped all operations and began bomb threat clearing procedures at approximately
Case 2:19-cr-00162-AWA-RJK Document 2 Filed 08/29/19 Page 6 of 8 PageID# 7




1250 hours. Machine Account Chief Petty Officer Jason WALTERS advised the ship also began

clearing procedures on USS GUNSTON HALL at the same time. Colonna's Shipyard and the

USS GUNSTON HALL were deemed safe and clear at approximately 1440 hours.

17.    Initial background checks for phone number(804)256-1208 revealed this phone number

is owned by Bandwidth Inc. An exigent circumstance request was made to Bandwidth Inc. and

Bandwidth Inc. advised this number is owned by TextNow Inc., who operates this phone number

using the Bandwidth network.

18.    An exigent circumstance request was made to TextNow Inc., and TextNow Inc. provided

information relating to phone number(804)256-1208. TextNow Inc. advised this phone number

was created using the email address marioparham861@gmail.com. Additionally, TextNow Inc.

provided a timestamp for when the phone number placed the call and provided an associated IP

address. The associated IP address of 107.77.202.139 was used to place the call on August 26,

2019 at 12:08:12. Search of the IP address used indicated AT&T Mobility owns the IP Address.

Additionally, TextNow Inc. provided that the phone number(804)256-1208 was assigned to the

marioparham861@gmail.com account at 11:48:21 on August 26, 2019. This number was

assigned approximately 20 minutes prior to the bomb threat call received.

19.    Contact again was made with the Security Manager, who stated that the scan history

report for August 26, 2019, indicated PARHAM scanned into Colonna's Gate at 0638 hours and

did not scan out.


                                        CONCLUSION


20.    Based on the information and evidence set forth above, I respectfully submit that there is

probable cause to believe that MARIO CORDEAU PARHAM committed the following

offenses:
 Case 2:19-cr-00162-AWA-RJK Document 2 Filed 08/29/19 Page 7 of 8 PageID# 8




       COUNT ONE: On August 13, 2019, MARIO CORDEAU PARHAM,through the use of

the telephone and other instrument of interstate or foreign commerce, and in or affecting

interstate or foreign commerce, willfully made a threat, and maliciously conveyed false

information knowing the same to be false, concerning an attempt or alleged attempt being made,

or to be made,to kill, injure, or intimidate an individual or unlawfully to damage or destroy any

building, vehicle, or other real or personal property by means of an explosive, in violation of 18

U.S.C. 844(e);

       COUNT TWO: On August 21, 2019, MARIO CORDEAU PARHAM,through the use of

the telephone and other instrument of interstate or foreign commerce, and in or affecting

interstate or foreign commerce, willfully made a threat, and maliciously conveyed false

information knowing the same to be false, concerning an attempt or alleged attempt being made,

or to be made,to kill, injure, or intimidate an individual or unlawfully to damage or destroy any

building, vehicle, or other real or personal property by means of an explosive, in violation of 18

U.S.C. 844(e);

       COUNT THREE: On August 26,2019, MARIO CORDEAU PARHAM,through the use

ofthe telephone and other instrument of interstate or foreign commerce, and in or affecting

interstate or foreign commerce, willfully made a threat, and maliciously conveyed false

information knowing the same to be false, concerning an attempt or alleged attempt being made,

or to be made,to kill, injure, or intimidate an individual or unlawfully to damage or destroy any

building, vehicle, or other real or personal property by means of an explosive, in violation of 18

U.S.C. 844(e);

21.    Accordingly, I request that a complaint and arrest warrant be issued charging Mario

PARHAM with such offenses.
Case 2:19-cr-00162-AWA-RJK Document 2 Filed 08/29/19 Page 8 of 8 PageID# 9




      FURTHER AFFIANT SAYETH NOT.


                                             Respectfully submitted,



                                             Kyle Raines
                                             Special Agent
                                             Naval Criminal Investigative Service

Subscribed and sworn to before me on August 29,2019.



  HIED stA^s magistrate judge
